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                                No.: 22-35050

                UNITED STATES COURT OF APPEALS

                       FOR THE NINTH CIRCUIT



   ENRIQUE JEVONS, as managing member of Jevons Properties,
    FREYA BURGSTALLER, as trustee of the Freya K. Burstaller
       Revocable Trust, JAY GLENN and KENDRA GLENN,

                           Plaintiffs-Appellants,

                                       v.

  JAY INSLEE, in his official capacity as Governor of the State of
 Washington and ROBERT FERGUSON, in his official capacity of the
           Attorney General of the State of Washington,

                           Defendants-Appellees.


Appeal from the District Court from the Eastern District of Washington




     APPELLANTS’ RESPONSE TO MOTION TO DISMISS



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                           Disclosure Statement

  None of the Appellants have a parent corporation or any publicly

held corporation that owns 10% or more of its stock.




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                                Introduction

  This appeal arises from a summary judgment order against

Appellants’ claims that pandemic-related restrictions on eviction and

treatment of unpaid rent substantially impairs contractual obligations

and cause a taking of property. Appellee, the Attorney General of the

State of Washington (hereinafter “State”), seeks to have this appeal

dismissed on mootness grounds.

  Voluntary cessation of a challenged activity does not moot a case and

the issues in this case could easily recur without sufficient duration to

enable judicial review. The appeal is also not moot because Appellants

await declarations whether their property was taken. If their property

was taken, they are entitled to just compensation.

                     Statement of Relevant Facts

  A. The pandemic.

  The global COVID-19 pandemic has profoundly disrupted and

damaged the lives of all Americans and the national economy. While

many businesses suffered as a result of the pandemic, the owners of

rental property are the only ones who were required by any of the

Governor’s emergency proclamations to provide a good or service


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without charge. Stores and restaurants lost business opportunities due

to the pandemic, but they were never required to provide goods or food

to customers without an ability to charge for food, clothing, or other

necessities. As well-intentioned as they may be, the Governor’s rental

housing proclamations disparately impacted housing providers who

have been left with the responsibility of providing for a public need at

their own expense.

  B. The Governor’s proclamations affecting rental property.

  In response to the pandemic’s outbreak, Governor Inslee issued a

series of rolling proclamations covering different periods of time which

suspended provisions of state law that would otherwise allow eviction of

tenants. The proclamations prohibited evictions of tenants for non-

payment of rent but lacked any requirement that the tenants were

suffering any loss of income that might impact their ability to pay rent.

Evictions were prohibited regardless of whether the lease has expired or

whether the occupant ever had any lease at all.

  Additionally, the proclamations prohibited imposing fees for late

payment and a prohibition on treating unpaid rent as an enforceable

debt. The latter prohibition would be lifted only if the lessor offered the


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tenant, and the tenant refused or failed to comply with, a repayment

plan that was reasonable, based on the individual financial, health, and

other circumstances of that resident. However, tenants were not

required to cooperate with the development of a repayment plan and

many tenants chose not to provide information that would enable the

creation of a repayment plan—information about the tenant’s financial,

health and other circumstances that a landlord would have no

knowledge about. Appellants were also prohibited from using security

deposits to cover unpaid rent when a tenant chooses to leave. Tenants

could move on with their security deposit in hand, despite owing rent.

  These proclamations were renewed several times over successive

time periods. In April of 2021, the Washington legislature enacted

Engrossed Second Substitute Senate Bill 5160 (E2SSB 5160). The law

ended the Governor’s moratorium on evictions, conditioned future

evictions upon participation in a dispute resolution program and a

rental assistance program. The Governor vetoed two sections that

would enable housing providers to request payment from public funds

to cover nonpayment of rent during the period of the Governor’s

proclamations.


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  Despite the legislature’s ending of the moratorium, in June of 2021,

the Governor issued Proclamation 21-09, also known as the “Bridge

Proclamation,” supposedly bridging the E2SSB 5160 and the post-

E2SSB 5160 worlds. The Governor extended his prohibition on evictions

based on unpaid rent until the end of September, 2021 and extended

again until the end of October, 2021, unless both of two conditions were

met in the local county where the eviction would occur:

  1. The tenant had an opportunity to participate in an operational

     rental assistance program, and

  2. The tenant had an opportunity to participate an operational

     eviction resolution pilot program.

Dkt. 44. Similarly, a landlord could still not treat unpaid rent as an

enforceable debt “until such time as the landlord and tenant have been

provided with an opportunity to resolve nonpayment of rent through a

rental assistance program and an eviction resolution pilot program.”

https://www/governor.wa.gov/sites/default/files/proclamations/proc_21-

09.pdf?utm_medium=email&utm_sourc=govdelivery.




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  B. The Appellants’ Situations.

  The Appellants are individuals who provide tenants rental housing

in Yakima, Washington. While they all have been willing to work with

tenants who have suffered economic hardship as a result of the

pandemic or otherwise, they have some tenants who they would evict,

who they would like to treat their unpaid rent as an enforceable debt

and whose security deposits they would have used to cover unpaid rent

upon the tenant’s choice to end the tenancy. They have not been made

whole.

     1. Enrique Jevons.

  Appellant Enrique Jevons is the managing member and owner of

Jevons Properties LLC (hereinafter “Jevons”) which owns hundreds of

residential rental properties rented to tenants in Yakima, Washington.

Dkt. 26. The record reflects that Jevons had 171 tenants who were not

current with paying their rent and the total unpaid rent was

$266,509.98. Id.

  Previously as one would expect, Jevons would apply a tenant’s

security deposit when a tenant left to cover any damage to the unit,

cleaning costs, and any unpaid rent or late fees. Id. at 2-3. That all

changed under the first proclamation and Jevons has had tenants leave

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with rent owing, but he could not and did not use any of those tenants’

security deposit to cover unpaid rent or late fees because that is now

prohibited. Id. The “security” deposits were and are prohibited from

being used to provide security for unpaid rent and must be returned to

the defaulting tenant. Nothing in E2SSB 5160 changed that.

  In connection with the proclamations’ key to being able to treat

unpaid rent as an enforceable debt, Jevons has not been able to offer

tenants a reasonable repayment plan, one that must be based on the

individual financial, health, and other circumstances of that tenant as

the proclamations require because he did not know—and has no way of

knowing—the tenants’ financial, health or other circumstances. Dkt. 37-

2. It is undisputed that tenants generally do not provide information

about their financial or health circumstances or answer questions in the

landlord’s attempt to gather that information. Id.

  Making matters worse, Jevons had tenants whose income is too high

for them to qualify for rental assistance from the rental assistance

programs operating in Yakima County. Dkt. 62-1. Those eight tenants

together owed over $48,000 in unpaid rent incurred during the effect of

the proclamations. They could not be evicted, and now their debt cannot




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be considered an enforceable debt because they have no opportunity to

participate in an operational rental assistance program.

     2. Freya Burgstaller.

  Freya Burgstaller owns 12 rental units in Yakima County and has

had similar problems. Dkt. 25. Tenants had not been paying rent and

one created significant noise problems for other tenants. She tried to

evict that tenant but could not because of the proclamations. Id.

     3. Jay and Kendra Glenn.

  Concerned about the high cost of housing on lower income tenants,

Jay and Kendra Glenn decided to go into the rental housing business

and provide homes at lower than market rents. Dkt. 24. They own 46

residential rental properties in Yakima.

  At the time of the filing of their motion for summary judgment, the

Glenns had 29 rental units where the tenants were delinquent in

paying their rent, totaling $99,728. Id., at 2. Their property manager

explained:

     It has been the standard in the rental industry that tenants
     who do owe past rent have little incentive to pay once they
     have moved out of the rental unit. … It is simply less likely




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      that people will pay what they owe once they are no longer
      receiving the benefit of their tenancy.

Dkt. 37-1 The State offered no testimony to rebut this reality. See also

Dkt. 62-2.

   The Glenns also have tenants who have moved out and have no

opportunity to resolve nonpayment of rent with a rental assistance

program because those programs are designed to keep tenants in their

existing tenancies. Id. When tenants move out, the State’s restrictions

leave Appellants “holding the bag.”

                                  Argument

   I. Legal Standard and Burden of Proof.

   The State’s motion to dismiss is based entirely on an argument that

the issues in this case are moot. Those seeking to dismiss a case on

mootness bear the burden of proof. See S. Oregon Barter Fair v. Jackson

Cty., Oregon, 372 F.3d 1128, 1134 (9th Cir. 2004). And the burden is

heavy. See In re Thorpe Insulation Co., 677 F.3d 869 (9th Cir. 2012). As

addressed below, this is a burden the State cannot meet.




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  II. Appellants’ taking claims are not moot because Appellants
      seek declaratory relief claim that their property has
      already been taken.

  Appellants’ appeal is not moot because they have a legally recognized

interest in knowing whether they are entitled to just compensation. “A

case becomes moot ‘when the issues presented are no longer “live” or the

parties lack a legally cognizable interest in the outcome’ of the

litigation.” Pitts v. Terrible Herbst, Inc., 653 F.3d 1081, 1086 (9th Cir.

2011) (citation omitted).

  The parties’ dispute is live. Appellants contend the proclamations

have taken a compensable interest in Appellants’ properties for which

they are entitled under the Fifth Amendment to just compensation.

Appellants contend that the proclamations took leasehold interests,

contract rights and interests in security deposits. The latter was taken

because Appellants were unable to use required to return to tenants

security deposits, even when rent was unpaid. See Armstrong v. United

States, 364 U.S. 40, 46 (1960) (taking of liens as security interests). The

State contends no taking occurred.

  Importantly, the State is not arguing that the case is moot because

Appellants have been paid. The declaration Appellants seek is valuable


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to them. If this Court does rule that a taking has occurred, Appellants

have no reason to believe that the State will not provide the just

compensation the Fifth Amendment requires. Furthermore, 28 U.S.C. §

2202 allows a plaintiff who obtained declaratory relief to seek further

relief if that becomes necessary.

     The State relies on the new statute, E2SSB 5160, which provides

new criteria for eviction of tenants. However, the statute does not

provide anything on the repayment of unpaid rent other than describing

repayment plans, the failure to comply with only entitles the landlords

to evict. It does nothing about unpaid rent. The law amended Wash.

Rev. Code § 43.31.605(1)(d) to allow reimbursement of up to $15,000 if

nonpaying tenants were of low income or $15,000 for tenancies that

remain, regardless of income. This provides nothing because appellants

have tenants who have left and who are not low income. See supra at 6,

8.

     Appellants still have no ruling that a compensable taking has

occurred and, therefore, they have a continuing need for such a ruling

so they can ultimately obtain compensation from the State. As

addressed below, their pursuit of this declaration is not moot.


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     A. Declaratory relief claims may persist even if other forms
        of relief are moot.

  Declaratory relief is appropriate to serve useful purposes in resolving

legal uncertainties between the parties. Bilbrey by Bilbrey v. Brown,

738 F.2d 1462, 1470 (9th Cir. 1984). The right to seek declaratory relief

regarding parties’ legal obligations generally is well-established.

     Prior to [the Declaratory Judgment] Act, a federal court
     would entertain a suit on a contract only if the plaintiff
     asked for an immediately enforceable remedy like money
     damages or an injunction …. The Declaratory Judgment Act
     allowed relief to be given by way of recognizing the plaintiff's
     right even though no immediate enforcement of it was asked.

Skelly Oil Co. v. Phillips Petroleum Co., 339 U.S. 667, 671–72 (1950).

Here, declaratory relief as to the Fifth Amendment implications of the

proclamations is useful because it would clarify and settle the legal

relations between the parties as to whether compensation is required.

  The taking question is unresolved but could be through this appeal.

In addition to eventually recovering compensation, declaratory relief

allows Appellants to order their affairs. If they are entitled to

compensation, they could arrange for financing in the interim during

future eviction moratoria. If the declaration was that there is no taking,


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Appellants might choose, as did many others, to sell their properties.

The entitlement to compensation is not some abstract or merely

interesting legal theory. Appellants seek recognition of their Fifth

Amendment right to compensation even though no award from the

court was yet sought; they still need to know the scope of their rights.

  Likewise, the State would be well-served in knowing whether

compensation would be required. The State and federal governments

have appropriated over a billion dollars for rental assistance (Dkt. 30, at

9-10), but there is no ruling yet that a taking has occurred for which the

Constitution requires payment. Such a ruling is the only way to ensure

that the people who have a constitutional right to be paid are in fact

paid. A ruling on the taking claims would “serve a useful purpose in

clarifying the legal relations at issue.” Allstate Ins. Co. v. Herron, 634

F.3d 1101, 1107 (9th Cir. 2011).

  Because the present case is a live dispute about the State’s obligation

to pay compensation, a duty which has not disappeared by the

expiration of the proclamations, this appeal is not moot.




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     B. Declaratory relief is appropriate to determine whether
        government has caused a taking of property.

  The District Court concluded that it cannot issue declaratory relief

that a taking occurred because a declaration is not a permissible

remedy under the Fifth or Fourteenth Amendments. Dkt. 60, at 25-36.

As further addressed below, declaratory relief as to whether a taking

occurred is an appropriate judicial remedy.

  The District Court explained that “equitable remedies” are not

available when a claim is made that property is taken. Dkt. 60, at 25.

But the District Court’s decision ignores the distinction between

injunctive and declaratory relief; both are types of equitable remedies.

  Appellants agree that they could not get injunctive relief prohibiting

the continued effect of the proclamations under the Fifth Amendment

for the simple reason that the taking of property is not unconstitutional

—there is nothing to enjoin. The Fifth Amendment does not prohibit the

taking of property; it simply requires (eventual) payment of just

compensation. Knick v. Twp. of Scott, Pennsylvania, 139 S. Ct. 2162,

2175 (2019). Even though the ultimate remedy is compensation, there

remains a controversy resolvable by declaratory relief that would be



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useful to the parties: a determination of whether payment of just

compensation is even required.

        1. In confusing different forms of equitable relief, the
           District Court erroneously concluded that declaratory
           relief was also not available for a Fifth Amendment
           taking claim simply because injunctive relief was not
           available.

  In concluding that declaratory relief was not available for a taking

claim, the District Court mistakenly assumed that declaratory relief

was not available because injunctive relief typically is not available. The

District Court specifically concludes that declaratory relief would be

“the functional equivalent of an injunction against enforcement of the

moratorium.” Dkt. 60, at 25 (citing Baptiste v. Kennealy, 490 F. Supp.

3d 353, 391 (D. Mass. 2020); County of Butler of Cty. of Butler v. Wolf,

No. 2:20-CV-677, 2020 WL 2769105, at *4 (W.D. Pa. May 28, 2020);

HAPCO v. City of Philadelphia, 482 F. Supp. 3d 337, 358 & n.112 (E.D.

Pa. 2020)).

  There is simply no analysis as to how declaring that a government

action causes a taking is the equivalent of an injunction. These three

district court cases completely ignore the distinctions between

declaratory and injunctive relief. There may be unique reasons


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declaratory relief was not granted in these cases based on the relief

sought or the argument and authorities presented to the courts in those

cases, but the conclusion that declaratory relief is tantamount to an

injunction has no support in the law.

  Only in rare cases is declaratory relief not allowed as an end run

around federal law prohibiting the exercise of federal courts authority,

such as the Tax Injunction Act, see Big Sandy Rancheria Enterprises v.

Bonta, 1 F.4th 710, 720 (9th Cir. 2021), cert. denied, 142 S. Ct. 1110

(2022), or the lack of waiver of sovereign immunity. See Idaho v. Coeur

d’Alene Tribe of Idaho, 521 U.S. 261, 281 (1997). Here, there is no

Congressional action precluding federal court jurisdiction.

  Rather, declaratory and injunctive relief are very different.

Declaratory relief simply declares the legal implications of the

circumstances pled, i.e, whether the situation amounted to a taking of

property that would require eventual payment of just compensation.

Injunctive relief, by contrast, would prohibit the State’s action. See

Ulstein Mar., Ltd. v. United States, 833 F.2d 1052, 1055 (1st Cir. 1987)

(explaining differences). Appellants no longer seek injunctive relief

under their Fifth Amendment taking claim.


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  Even when ignoring the distinctions between declaratory and

injunctive relief, the authorities the District Court cites are not

persuasive—they all rely on one case that provides no explanation for

its conclusion. Baptiste merely cites Wolf for the notion that declaratory

relief would be the functional equivalent of an injunction, with no other

analysis whatsoever. Baptiste, 490 F. Supp. 3d at 391 (citing Wolf, 2020

WL 2769104, *4). Like Baptiste, HAPCO relies on nothing other than

the conclusion in Wolf that declaratory relief is equivalent to injunctive

relief. Wolf merely asserts that declaratory relief is the functional

equivalent of an injunction without any analysis. Id. The District Court

here has simply followed suit without any analysis of its own regarding

the significant differences between declaratory and injunctive relief.

  The District Court also relied on Knick, 139 S. Ct. 2162, for the

proposition that an injunction to stop a taking is inappropriate. “Given

the availability of post-taking compensation, barring the government

from acting will ordinarily not be appropriate.” Knick, 139 S. Ct. at

2177 (emphasis added). But as addressed above, barring government

action is nothing like declaring its legal implications.




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  In the present case, a declaration that a taking occurred is nothing

like an injunction. A declaration here that the State may continue what

it is doing so long as it eventually pays just compensation is not the

functional equivalent of an injunction because it would enjoin no action.

Quite the opposite, in fact.

        2. The Supreme Court has repeatedly recognized that
           declaratory relief that a taking did or did not occur is
           appropriate.

  The Supreme Court has recognized on numerous occasions that

declaratory relief, without regard to injunctive relief, is appropriate

for determining whether a compensable taking occurred. The most

recent is Cedar Point Nursery v. Hassid, 141 S. Ct. 2063, 2070 (2021).

There, the Court considers a declaratory relief claim and ultimately

rules that the state law caused a taking of property without any

suggestion that Knick, or any other case, prohibits declaratory relief

claims. In fact, the dissent complained that the property owner in

Cedar Point Nursery was not seeking compensation (id. at 2081, 2089

(Breyer, J., dissenting), but that was no obstacle to the majority

ruling that a taking occurred. The declaratory relief sought by

Appellants is like that in Cedar Point Nursery.


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  Cedar Park Nursery is not alone. In Ruckelshaus v. Monsanto Co.,

467 U.S. 986 (1984), the Court issued declaratory relief on the existence

of a taking without an accompanying claim for the court to award

compensation. Id. at 1006, 1013 (declaring a taking of trade secret data

did not occur in one time period but would occur for another time

period). See also Duke Power Co. v. Carolina Env't Study Grp., Inc., 438

U.S. 59, 71 (1978) n. 15 (1978); E. Enterprises v. Apfel, 524 U.S. 498,

521–22 (1998),

  As in Cedar Point Nursery and others, Appellants here seek a

declaration that a taking of their property has already occurred so that,

if they are entitled to compensation, they can obtain it from the State

because the State is likely to honor this Court’s declaration. Without a

declaration that a taking has occurred, the State has no obligation—or

incentive—to pay anything.

  The appeal is not moot because Appellants are entitled to a

declaration as to whether the State has taken their property interests.

  III.    Voluntary cessation of the challenged conduct does
     not moot the case.

  In addition to the continuing need for knowing whether Appellants

are entitled to just compensation, the law does not support finding

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mootness because of the defendant’s voluntary cessation of the

challenged conduct. A defendant cannot automatically moot a case

simply by ending his unlawful conduct once sued. “It is well settled that

a defendant's voluntary cessation of a challenged practice does not

deprive a federal court of its power to determine the legality of the

practice.” Friends of the Earth, Inc. v. Laidlaw Env't Servs. (TOC), Inc.,

528 U.S. 167, 189 (2000) (citing City of Mesquite v. Aladdin’s Castle,

Inc., 455 U.S. 283, 289 (1982)).

  The burden of escaping a ruling on the merits is particularly heavy

when mootness is claimed by the voluntary ending of defendant’s

conduct:

     “‘a defendant claiming that its voluntary compliance moots a
     case bears the formidable burden of showing that it is
     absolutely clear the allegedly wrongful behavior could not
     reasonably be expected to recur.’”

Already, LLC v. Nike, Inc., 568 U.S. 85, 91 (2013) (quoting Friends of

the Earth, Inc., 528 U.S. at 190 (emphasis added))

  In several cases challenging emergency COVID-19 rules, the

Supreme Court has recognized that the challenges to pandemic-related

emergency regulations were not moot. See Tandon v. Newsom, 141 S.

Ct. 1294 (2021) (per curiam) (“even if the government withdraws or

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modifies a COVID restriction in the course of litigation, that does not

necessarily moot the case”); Roman Cath. Diocese of Brooklyn v. Cuomo,

141 S. Ct. 63, 68–69 (2020) (challenge to changing restrictions on

assembly held not moot). The constantly fluctuating circumstances

regarding this pandemic call for resolution of legal issues that would

otherwise remain unsettled.

  In Bd. of Trustees of Glazing Health & Welfare Tr. v. Chambers, 941

F.3d 1195 (9th Cir. 2019), this Court found mootness in a case

challenging a statute that had been repealed by the legislature. But the

repeal happened after a judicial ruling that the statute was preempted.

Id. at 1197. In declaring the appeal moot, this Court relied on an

expectation that the legislative body was acting in good faith and was

not going to reenact a statute which a court previously found to be

illegal. Id. at 1199.1 That rationale does not apply here because there is

no ruling that the proclamations are illegal and, therefore, no basis for

characterizing a revived proclamation as being in bad faith.2


1 Expiration of government action in Trump v. Hawaii, 138 S. Ct. 377

(2017), cited in Motion to Dismiss, at 15, similarly followed Court
rulings of illegality.
2 Chambers does not address a relatively recent Supreme Court decision

in Trinity Lutheran Church of Columbia, Inc. v. Comer, 137 S. Ct. 2012,
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  While E2SSB 5160 purported to end the eviction moratorium (and

not other challenged portions of the proclamations), the Governor chose

to extend the eviction moratorium for several months after the date the

legislature directed the moratorium to end. The situation may be

different had the legislature repealed the statute on which the Governor

claimed he had the independent authority to suspend landlord/tenant

statutes. See, e.g., Cty. of Butler v. Governor of Pennsylvania, 8 F.4th

226, 229 (3d Cir. 2021), cert. denied sub nom. Butler Cty., Pennsylvania

v. Wolf, 142 S. Ct. 772 (2022). But that was not done.

  The State also argues that the Governor has not been moving the

goalposts by reissuing similar proclamations. Motion to Dismiss, at 16.

His consistency simply reinforces that, if COVID-19 cases increase, he is

likely to reissue a similar proclamation.

  After Chambers, this Court addressed these principles in MetroPCS

California, LLC v. Picker, 970 F.3d 1106 (9th Cir. 2020). The challenged

state law in Picker expired, but this Court recognized that the case

challenging its legality was not moot because the plaintiff still needed to



2019 n.1 (2017). The Court retains the rule that a government official
must still satisfy a “heavy burden” that it was “absolutely clear that the
allegedly wrongful behavior could not reasonably be expect to recur.” Id.
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know the answer to the legal questions due to lingering impacts of the

expired law. Id. at 1116. The lingering impacts were the potential for

prosecution for violation of the now expired law. Here, the lingering

impact is the ongoing, unremedied loss caused by the taking of

Appellants’ property interests. Id. Picker recognizes that these impacts

“need not be certain” but only a “possibility.” Id. In the present case, the

damage to Appellants is more than a possibility; the damage occurred.

Appellants continue to be affected by the fact that tenants did not pay

rent and recovered security deposits without coming current on rent

when they left the tenancy.

  Additionally, due to the uncertainties surrounding COVID-19, there

is a possibility that another eviction moratorium may occur in the

future. Other courts have recognized the uncertain future caused by the

pandemic should not moot pandemic-related cases. For instance, a

District Court in California concluded:

     The Defendants are not constrained from enacting or re-
     enacting restrictions on plaintiffs and their businesses.
     Because the current shutdown orders demonstrate that the
     allegedly wrongful behavior can reasonably be expected to




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     re-occur as health conditions wax and wane, the exception to
     mootness applies.

Bols v. Newsom, 515 F. Supp. 3d 1120, 1126 (S.D. Cal. 2021),

reconsideration denied sub nom. JD Bols v. Newsom, No. 20-CV-873-

BEN (BLM), 2021 WL 1313545 (S.D. Cal. Apr. 8, 2021).

  The waxing and waning continues. Only a month ago, the

Washington Department of Health warned: ‘While the virus remains

with us and is expected to circulate for the foreseeable future, … [it] will

take years to recover. …[i]t is difficult to predict when the pandemic

will truly end.” https://doh.wa.gov/sites/default/files/2022-

03/WAForward.pdf.

  Given the uncertain nature of COVID-19 and its variants, the lack of

anything to constrain the Governor from re-issuing proclamations on

eviction and the extent to which the Attorney General defends the

proclamations, the appeal should not be dismissed on mootness

grounds. Moreover, the Attorney General has not promised to never

enforce a proclamation like the ones at issue. Nor could he.




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  IV.    The Court should decide this appeal because the
    issues are capable of repetition and evading review.

  As an independent ground for not dismissing this appeal, this Court

should decide this appeal because the dispute is one that is capable of

repetition, but potentially evading review.

  A dispute qualifies for that exception only “if (1) the challenged
  action is in its duration too short to be fully litigated prior to its
  cessation or expiration, and (2) there is a reasonable
  expectation that the same complaining party will be subjected
  to the same action again.”

United States v. Sanchez-Gomez, 138 S. Ct. 1532, 1540 (2018) (quoting

Turner v. Rogers, 564 U.S. 431, 439–440 (2011)). It is reasonable to

expect that Appellants will be subjected to the same action again

because the pandemic is not over, there is no ruling as to the legal

impacts of the proclamations and the Governor even issued his “Bridge

Proclamation” which continued the eviction moratorium after the

legislature declared it would end. See supra at 4. See Elim Romanian

Pentecostal Church v. Pritzker, 962 F.3d 341, 345 (7th Cir. 2020), cert.

denied, 141 S. Ct. 1753 (2021) (challenge to pandemic-related executive

order restricting church attendance was not moot because it was not




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“absolutely clear” the challenged executive order would “never be

restored.”).3

   The proclamations are capable of repetition given that they were

issued in emergency circumstances and “the only certainty about the

future course of this pandemic is uncertainty.” Hopkins Hawley LLC v.

Cuomo, No. 20-CV-10932 (PAC), 2021 WL 1894277 (S.D.N.Y. May 11,

2021) (citing Cassell v. Snyders, 990 F.3d 539, 546 (7th Cir. 2021) (“We

have considered whether the case should be dismissed as moot. Given

the uncertainty about the future course of the pandemic, we are not

convinced that these developments have definitively rendered it

moot.”)).

   Given the proclamations only lasted a few months at a time, their

legality would constantly evade appellate review.

      The duration component of the repetition/evasion analysis
      is present where “the underlying action is almost certain to




3 See Amato v. Elicker, 534 F. Supp. 3d 196 (D. Conn. 2021) (Governor

could not “say with certainty that it will never be necessary to re-impose
restrictions in the future”); Jones v. Cuomo, 542 F. Supp. 3d 207, 214–
16 (S.D.N.Y. 2021) (addressing multiple COVID-19 cases).
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     run its course before either this court or the Supreme Court
     can give the case full consideration.”

Biodiversity Legal Found. v. Badgley, 309 F.3d 1166, 1173 (9th Cir.

2002) (quoting Alaska Ctr. For Env't v. U.S. Forest Serv., 189 F.3d 851,

855 (9th Cir. 1999); see also Johnson v. Rancho Santiago Cmty. Coll.

Dist., 623 F.3d 1011, 1019 (9th Cir. 2010) (three years was not enough

time for judicial review)).

   Due to the uncertainty with global health, the high burden of

proving a proclamation will never recur, and the time it takes for an

appellate ruling on these issues, this appeal should not be dismissed on

mootness grounds because the issues are capable of repetition, yet

evading review—a traditional standard for retaining review.

  V. Appellants’ impairment of contracts clause claim is not
     moot.

  Although the State’s motion did not address mootness on a claim-by-

claim basis, Appellant’s impairment of contracts clause claim is not

moot either. In a nutshell, the Contracts Clause is violated when there

is a substantial impairment of contractual obligations and the

impairment is not narrowly tailored or subject to reasonable conditions.




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Allied Structural Steel Co. v. Spannaus, 438 U.S. 234, 242 (1978); U.S.

Tr. Co. of New York v. New Jersey, 431 U.S. 1, 22 (1977).

  Appellants contend that the impairment was substantial and their

inability to enforce their contracts during the proclamations has

continuing effects. Additionally, the impairment was not narrowly

tailored or subject to reasonable conditions for several reasons, but one

of them is the fact that there was no provision for payment for the

losses, or avoiding losses, occasioned by mandating that Appellants

continue to keep tenants in their property who can pay, but did not pay

rent, or who damaged the rental units. Whether the State can do this is

a live dispute. There’s no promise to never repeat it and Appellants

need to know their rights because the decision here will affect their

decision-making regarding continuing in the rental business and the

drafting of future rental contracts, if they do continue.

  Appellants Contracts Clause claim is not moot.

                                 Conclusion

  Appellants urge the Court not to dismiss their case as moot. They

still have rental properties, still have losses from the challenged actions

and still need to know whether a taking occurred that could be


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compensated or whether their contracts were impaired. The State has

not met its burden of proof to have the case dismissed.

  Respectfully submitted this 25th day of April, 2022,

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     Dated April 25, 2022




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                           Certificate of Service

      I hereby certify that a copy of the foregoing Appellant’s Response

to Motion to Dismiss was served upon counsel for Appellees by

electronic filing with the United States Court of Appeals for the Ninth

Circuit’s CM/ECF system this 25th day of April, 2022, at Woodinville,

Washington,

By:   s/Richard M. Stephens
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      Dated April 25, 2022




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